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 Attorney for Defendant
 KATHERINE P. KEALOHA


                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,               CR NO. 17-00582-JMS-WRP

       Plaintiff,                        DEFENDANTS KATHERINE P.
                                         KEALOHA’S SECOND
        vs.                              AMENDMENT TO PROPOSED
                                         JURY INSTRUCTIONS; EXHIBIT
 KATHERINE P. KEALOHA (1),               “A”; CERTIFICATE OF SERVICE
 LOUIS M. KEALOHA (2),
 DEREK WAYNE HAHN (3),
 MINH-HUNG NGUYEN (4),
 GORDON SHIRAISHI (5), and
 DANIEL SELLERS (6),

       Defendants.

  DEFENDANTS KATHERINE P. KEALOHA’S SECOND AMENDMENT
             TO PROPOSED JURY INSTRUCTIONS

       Defendant KATHERINE P. KEALOHA (“Ms. Kealoha”), by and through

 her counsel Cynthia A. Kagiwada, Esq., respectfully submits a second amendment

 to her previously submitted June 11, 2019 proposed jury instructions [ECF

 No.718] (“Kealoha Proposed Instructions”).
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       Based on earlier discussions with the Court and the parties at the June 21,

 2019 morning status conference on jury instructions, Ms. Kealoha submits her

 amended Proposed Instruction No. 13 regarding the jury’s consideration of other

 alleged acts committed by Ms. Kealoha that are not charged in the Indictment.

 Ms. Kealoha’s amended Proposed Instruction No. 13 is attached as Exhibit “A”.

       DATED: Kaneohe, Hawaii, June 21, 2019.

                          Respectfully submitted,

                                          /s/ Cynthia A. Kagiwada
                                 CYNTHIA A. KAGIWADA
                                 Attorney for Defendant
                                 KATHERINE P. KEALOHA




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              EXHIBIT “A”




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       KEALOHAS’ [AMENDED] PROPOSED INSTRUCTION NO. 13

       You have heard evidence that Defendant Katherine P. Kealoha (“Ms.

 Kealoha”) allegedly committed other acts related to a reverse mortgage involving

 Florence Puana, a condominum purchase for Gerard Puana, and Ms. Kealoha’s use

 of a notary public name identified as Alison Lee Wong. These acts are not charged

 here. You may consider this evidence only for its bearing, if any, on the question

 of Ms. Kealoha’s motive and for no other purpose. You may not consider this

 evidence as evidence of guilt of the crimes for which Ms. Kealoha is now on trial.




 Ninth Circuit Manual of Model Criminal Jury Instruction No. 4.3 (2019).




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